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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

STATE OF CONNECTICUT OFFICE OF: Civil Action No. 3:03CV1352 (RNC)
PROTECTION AND ADVOCACY
FOR PERSONS WITH DISABILITIES,
JAMES MCGAUGHEY, Executive
Director, Office of Protection and
Advocacy for Persons with Disabilities,

Plaintiffs,
Vv.

WAYNE CHOINSEI, Warden,
Northern Correctional Institution,
in his official capacity;
GIOVANNY GOMEZ, Warden,
Garner Correctional Institution,
in his official capacity; and
THERESA C. LANTZ, Commissioner,
Connecticut Department of Correction,
in her official capacity;

Defendants. : June 9, 2004

PLAINTIFFS’ MEMORANDUM OF LAW
IN SUPPORT OF THEIR MOTION FOR AN ORDER ALLOWING
ACCESS TO PRISONER HEALTH RECORDS

I. INTRODUCTION

Plaintiffs State of Connecticut Office of Protection & Advocacy for Persons with
Disabilities (’OPA") and its Director, James McGaughey, brought this suit pursuant to 42

U.S.C. §1983 in August, 2003, to challenge the conditions of confinement of prisoners
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with mental illness at Northern Correctional Institution ("NCI") and Garner Correctional
Institution ("GCI"). Plaintiffs contended that prisoners and detainees with mental illness
in both institutions were confined under conditions which caused them great suffering
and exacerbation of their mental illness, in violation of the Eighth and Fourteenth
Amendments to the United States Constitution.

OPA is responsible for providing protection and advocacy services to individuals
with disabilities. See Conn. Gen. Stat. §46a-7 et seq. Conn. Gen. Stat. §46a-8 defines
“person with a disability" to include "any person who has a ... mental ... disability or
disfunction which constitutes a significant obstacle to such person's ability to function
normally in society ....". Pursuant to Conn. Gen. Stat. §46a-11(4), Mr. McGaughey has
the duty and power to “act as an advocate for any person with a disability and initiate or
fund legal actions to protect the rights of any person with a disability."

OPA is also designated under the Federal Protection & Advocacy for Individuals
with Mental Illness Act (PAIMI) as the agency in Connecticut responsible for providing
protection and advocacy services for persons with mental illness. See 42 U.S.C. §10801
et seq. Under PAIMI, OPA is authorized to investigate suspected incidents of abuse and
neglect and to pursue administrative, legal and other remedies on behalf of individuals
with mental illness wherever programs for such individuals are operated within

Connecticut or within the State's control. See 42 U.S.C. §10805.
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Defendant Wayne Choinski is the Warden of NCI, defendant Giovanny Gomez is
the Warden of GCI, and defendant Theresa C. Lantz is Commissioner of the Connecticut
Department of Correction ("CDOC"),

As detailed in plaintiffs’ Complaint, prisoners with serious mental illness in the
administrative segregation program at NCI were subjected to social isolation and sensory
deprivation that approached the limits of human endurance. Their mental illness led to
behavior that blocked progression out of these conditions and subjected them to the use
of excessive force. At the same time, despite overwhelming need, mental health services
at NCI were systematically inadequate. While conditions at GCI were jess oppressive,
prisoners with mental illness at GCI were still subjected to harsh conditions and
inadequate treatment. For a more complete description of conditions at NCI and GCI, see
plaintiffs’ Complaint, paragraphs 15-31 at pp. 5-9.

After instituting this action, plaintiffs' counsel contacted counsel for defendants
and invited them to explore whether the case could be settled. Defense counsel accepted
this invitation and, after months of hard work by counsel and clients alike, and with the
valuable assistance of Magistrate Judge Martinez, a settlement agreement was signed on
March 8, 2004, The agreement was submitted to the legislature on March 31, 2004. It
was approved on April 30, 2004, pursuant to Conn. Gen. Stat. § 3-125a. A copy of the

agreement is attached as Exhibit A.
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The agreement runs for three years. See Ex. A, Section B.17., first paragraph, p.
16. During these three years, compliance with the agreement will be evaluated by two
sets of two expert consultants: one set for mental health issues and one set for custody
issues. See id., p. 17. One member of each set is appointed by plaintiffs and the second
member by defendants. Id. The consultants are to “be given continued access to GCI
and NCI to monitor compliance with this agreement." Id.
Further,
[als part of their assessment function the consultants shall
have full access to the two facilities and all documents not
covered by the attorney-client or work product privileges in
the defendants’ possession or control that pertain to NCI

and GCI, except documents maintained by CDOC that
relate to facility security operations ...."

The parties could not, however, agree on how the consultants would be given
access to prisoner health records. Plaintiffs believe that these records may be disclosed
pursuant to an appropriate court order, without notice to or consent by prisoners.
Defendants contend that notice to, and consent by, a prisoner is a precondition to any
disclosure. The parties agreed to submit the issue to this Court. See, id., fourth

paragraph, p.17.
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iL. ARGUMENT

Federal law expressly permits the protected disclosure of confidential medical
records without prior notice or consent and despite the existence of conflicting state
privacy statutes. Because this case involves a federal question, that federal law governs
here and compels granting plaintiffs’ motion.

A. HIPAA Provides For Such Disclosure By Court Order

In 1996, Congress passed the Health Insurance Portability and Accountability Act
("HIPAA"). HIPAA directed the Secretary of Health of Human Services to make
regulations concerning the privacy of individuals‘ identifiable health information. See
HIPAA §264(b), (c)(1), 110 Stat. 1936, 2033, 42 ULS.C. § 1320d-2 (notes),!

45 CLF.R. §164.512 defines the circumstances under which health information
otherwise protected by HIPAA may be used or disclosed “without the written
authorization of the individual ... or the opportunity for the individual to agree or object
ww 45 CFR. § 164.512(e)(1) describes when siach use or disclosure without notice or
consent may occur in "the course of any judiciai or administrative proceeding.” One
subsection of that regulation is dispositive of this motion. 45 C.F.R. § 164.512(e)(1)(i)

states that use or disclosure without notice or consent may occur "fiJn response to an

"Individually identifiable health informaticown” is defined by § 1171(6) of HIPAA,
which is codified at 42 U.S.C. § 1320d(6), as, inter alia, information that relates to “the
physical or mental health or condition of an individual [or] the provision of health care to
an individual" which “identifies the individual ....”
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order of a court or administrative tribunal, provided that the covered entity discloses only
the protected information expressly authorized by such order ...." Plaintiffs seek
precisely such an order.”

Courts have had no problem in recognizing the effect of the plain terms of 45
CER. § 164.512(e)(D)G). “That provision permits health care providers and other
covered entities to disclose protected health information without patient consent: (1) in
response to a court order, provided only the information specified in the court order is

disclosed ....". National Abortion Federation v. Ashcroft, 2004 WL 555701 (S.D.NLY.

2004) at *2.7 See Law v. Zuckerman, 307 F. Supp. 2d 705, 711 (D. Md. 2004) ("HIPAA

outlines the steps to follow in order to obtain protected health information during a
judicial proceeding in 45 C.F.R. § 164.512(e). There are three ways. First, counsel may

obtain a court order which allows the health care provider to disclose ‘only the protected

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* HIPAA also permits, without prior notice or consent, a covered entity such as
DOC to "disclose protected health information to a health oversight agency for oversight
activities authorized by law, including audits ... or other activities necessary for
appropriate oversight of ... [e]ntities subject to civil rights laws for which health
information is necessary for determining compliance." 45 C.F.R. § 164.512(d), HIPAA
defines “health oversight agency" as, inter alia, "an agency or authority of ... a State ...
or a person acting under a grant of authority from or contract with such public agency ...
that is authorized by law ... to enforce civil rights laws for which health information is
relevant." 45 CLFLR. § 164.501. 45 C.FLR. § 164.512¢(d) thus allows DOC to make the
requested disclosure of prisoner health records to OPA, its counsel, and its experts
without a court order. Defendants do not agree, however, and plaintiffs perforce are
proceeding under 45 C_F_R. § 165,512(e).

> Copies of unreported cases cited in this brief are attached as Exhibit B.
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health information expressly authorized by such order™); Hutton y. City of Martinez, 219

F.R.D. 164, 167 (N.D. Cal. 2003) ("Section 164.512 subsection (e} of HIPAA allows
disclosure of information in the course of judicial or administrative proceedings.

Disclosure may be compelled in response to a court order ...."); National Abortion

Federation _v. Ashcroft, 2004 WL 292079 (N.D. Hl. 2004) at *3 ("HIPAA allows a

hospital such as Northwestern to disclose patient medical records subject to a court order,

45 CFR. 164.512(e)(DG)"), affid, sub nom. Northwestern Memorial Hosp. v. Ashcroft,

362 F.3d 923 (7" Cir. 2004).*

BE. This Court Should Order Disclosure Of Prisoner Health Records On
Appropriate Terms

Defendants do not dispute that the expert consultants will need access to prisoner
health records in order to perform their audit role. Indeed, the agreement states as much.
See p. 4, supra. Rather, the issue reserved for determination by this Court is whether
individual prisoners need to consent for such access to be granted. As demonstrated
above, HIPAA answers that the question in the negative.

It remains to fix the terms upon which disclosure should be ordered. HIPAA

again provides guidance.

‘ The district court in that case went on to hold that state law ultimately controlled
the question rather than HIPAA. This holding was reversed on appeal, see 362 F.3d at
925, though the end result—quashing of the subpoena—-remained the same.
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45 CER. §164.512(e\ii) governs the disclosure of protected information in
response to a subpoena or discovery request rather than direct court order. It allows such
disclosure, inter alia, when "[t]he parties to the dispute have agreed to a qualified
protective order and have presented it to the court ... with jurisdiction over the dispute”
or when "[t]he party seeking the protected health information has requested a qualified
protective order from such court ...." 45 C.F.R. §164.512(e)Gv)(A)-(B). 45 C.ER.
164.512(e)(v) defines a "qualified protective order" as an order of the court or stipulation
of the parties that

(A) Prohibits the parties from using or disclosing the
protected health information for any purpose other than the
litigation or proceeding for which such information was
requested; and

(B) Requires the return to the covered entity or destruction
of the protected health information Gncluding all copies
made) at the end of the litigation or proceeding.

Plaintiffs suggest that although the requirements of a qualified protective order
are not explicitly made a condition of a court order for disclosure issued under 45 C.F.R.
§164.512(e)(1)(i), it would be reasonable and appropriate to include them as part of the
order requested here.

Thus, plaintiffs propose that this Court order plaintiffs, their counsel, and their
expert consultants be given access to NCI and GCI prisoner health records, with the

express provision that the records be kept confidential, be used solely for the purpose of

evaluating and enforcing compliance with the agreement, and any copies made be
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returned or destroyed upon termination of the agreement. Cf. A Helping Hand, LLC v.

Baltimore County, Maryland, 295 F.Supp.2d 585, 592 (D. Md. 2003) ("the HIPAA

regulations permit discovery of protected health information so long as a court order or
agreement of the parties prohibits disclosure of the information outside the litigation and
requires the return of the information once the proceedings are concluded.")

Cc. State Privacy Statutes Are Inapplicable To This Federal Question
Case

Defendants have taken the position that prisoner consent is necessary prior to
disclosure of their health records because various state statutes impose such a
requirement. This position does not withstand scrutiny.

Several courts have considered the interplay of HIPAA with state privacy statutes
or privileges in federal question cases where disclosure of health information is
contested, Without exception, those courts have concluded that federal, not state, law
applies and disclosure of health information is therefore controlled by HIPAA rather than
state privacy statutes or privileges. Further, because HIPAA does not distinguish
between disclosure of party records and non-party records, non-party status ts irrelevant
to the outcome.

e In A Helping Hand, LLC v. Baltimore County, Maryland, 295 F. Supp. 585, 592

(D. Md. 2003), a party to an ADA case cited Maryland's statutory patient —

psychotherapist privilege as grounds for barring discovery of non-party health records,
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The court rejected this argument, noting: “As for the cited Maryland provisions, the
privileges they establish are not applicable here because this lawsuit is governed by
federal, rather than state, law. See Fed. R. Evid. 501.”

« In United States of America ex rel. Mary Jane Stewart v. The Louisiana Clinic,

2002 WL 31819130 (B.D. La. 2002), defendant relied on Louisiana’s health care
provider/patient privilege law to oppose discovery of property billing and medical
records in a False Clatms Act qui fam action. The court held: “The instant lawsuit is
exclusively a federal question case. Realtors assert claims solely under federal law ....
Accordingly, Louisiana privilege law concerning production of nonparty patient records
does not apply in this action ...... 2002 WL 31819130 at *2 (citations omitted). The
court also rejected defendant’s claim that because HIPAA does not preempt state privacy
laws that are "more stringent" than HIPAA, state law should apply. See id., at *3-*5.

« In National Abortion Federation v. Ashcroft, 2004 WL 555701 (S.D.N.Y. 2004),

the court held that HIPAA, rather than New York State iaw requiring patient consent
before disclosure, applied to a subpoena of non-party medical records. "In cases arising
under federal law such as this one, privileges against disclosure are generated by
principles of federal law.” 2004 WL 555701 at *6, citing cases. The court also
considered HIPAA's anti-preemption provision, § 264(c)(2), and concluded that while
HIPAA did not preempt more stringent state laws, that shield could not be turned into a

sword to displace federal law. "Thus, N.Y.C.P.L.R. 4504(a) remains the law in areas in

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which New York State has the authority to regulate, but it has not become the law in
areas within the federal domain. Accordingly, New York law does not apply here." Id.

at *5,

e In Northwestern Memorial Hosp. v. Ashcroft, 362 F.3d 923, 925 (7" Cir. 2004),

the Court of Appeals reversed the District Court's holding that HIPAA’s non-preemption
of more stringent state laws meant that disclosure of non-party patient records should be
governed by [linots statutes rather than HIPAA. “Illinois is free to enforce its more
stringent medical-records privilege ... in suits in state court to enforce state law and, by
virtue of an express provision in Fed. R. Evid. 501, in suits in federal court (mainly
diversity suits) as well in which state law supplies the rule of decision, But the Illinois
privilege does not govern in federal-question suits ...."

In sum, federal law supplies the rule of decision in this §1983 case and HIPAA,
not Connecticut privacy statutes, governs when and under what conditions health
information may be disclosed. HIPAA expressly allows disclosure of non-party health
information without prior notice or consent, provided that an appropriate court order is
entered, This Court should therefore grant plaintiffs’ motion and enter such an order.

D. Pre-HIPAA Federal Privacy Cases Also Support Granting
This Motion

While the analysis need go no further, cases considering privacy rights prior to

HIPAA also support granting this motion.

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In Whalen v. Roe, 429 U.S. 589 (1977), the U.S. Supreme Court held that a state's
recording drug prescription information in a centralized computer file did not violate
patients’ constitutional privacy rights because the state had an interest in controlling
distribution of dangerous drugs and measures employed by the state guarded against

public disclosure of the information. Whalen v. Roe thus established the principle that a

constitutional privacy claim may be outweighed by the need for a carefully limited

disclosure. See Nixon _v. Administrator of General Services, 433 U.S. 425, 457-59

(1977).

The rule of Whalen v. Roe was applied to a challenge to a subpoena of non-party

medical records in Schachter v. Whalen, 381 F.2d 35 (2d Cir. 1978). The court held

there that the state’s need to investigate physicians for medical misconduct outweighed
the patients’ privacy rights, especially in light of the guaranteed confidentiality of the
records once produced. See 581 F.2d at 37.

Federal courts have employed a similar balancing test in compelling disclosure of
health records in institutional conditions cases, subject to an appropriate protective order,

These cases hold that the public interest in vindicating civil rights outweighs individual

privacy rights, whether constitutionally or statutorily based. See Lora v. Bd. of Educ. of

City of New York, 74 F.R.D, 565, 587 (E.D.N_Y. 1977) (disciosure ordered of diagnostic

and referral files of mentally handicapped children); N.O. v. Callaghan, 110 F.R.D. 637,

646-47 (D. Mass. 1986) (records of patients in mental health facility); Garmity_v.
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Thomson, 81 F.R.D. 633, 636-37 (D.N.H. 1979) (records of students in school for the

mentally retarded); Inmates of Unit 14 v. Rebideau, 102 F.R.D. 122, 127-29 (E.D.N.Y.

1984) (prison staff personnel files including medical information).
Two cases from this district also support disclosure here.

In Doe v. Meachum, 126 F.R.D. 444 (D. Conn. 1989), the court ordered that

plaintiffs’ counsel and their experts be given access to the medical and mental health
records of HIV-positive prisoners, subject to a protective order. Defendants had argued
that state privacy laws barred such disclosure, but the court noted that “in a civil nghts
action brought pursuant to a federal claim, state statutory privileges are not binding." 126
F.R.D. at 449. Plaintiffs' motion to compel production of the records without individual
notice or consent was granted.

Given that disclosure is sought by professionals whose

purpose it is to protect the constitutional rights of the

plaintiff class, the court finds that it is more important to

the interests of justice that the communications be

disclosed, under the strict parameters set forth in the

protective order, than that the relationship between patient
and psychologist/psychiatrist be protected.

126 F.R.D. at 450 (footnote omitted).°

° While this is not a class action, OPA has a statutory duty to protect the nghts of
the prisoners whose records are sought. See p. 2, supra, See also OPA v. Armstrong,
266 F.Supp.2d 303, 311-12 (D. Conn. 2003) ("The plain language of PAMII provides
Connecticut P&A with the independent authority to pursue legal remedies to ensure the
protection of individuals with mental illness.”), Oregon Advocacy Center v. Mink, 322

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The court reached a similar conclusion in Connecticut Fair Housing Center, Inc.

v. LS.D.S. Hartford Properties Corp., 2001 U.S. Dist. Lexis 24008 (D. Conn. 2001)

where, in a Fair Housing Act case, it compelled disclosure of which present and former
tenants and applicants were black or had children. After balancing the non-parties'
privacy interest with the need for disclosure, the court held:

The need for full disclosure of facts is necessary to our
system of justice. See, e.g., Burka [v. New York Transit
Authority, 110 F.R.D. 660, 665 (S.D.N.Y, £986).] The
court notes that full disclosure is most strongly warranted
in cases, like this one, involving alleged violations of
federal rights. Id.

AOR

The court finds that the Center's interest in disclosure
generally outweighs the privacy interests implicated.

2001 U.S. Dist. Lexis 24008 at *7-*8.°

HIPAA has already determined the results of the balancing of privacy and the
need for disclosure in favor of disclosure. These pre-HIPAA cases nevertheless further
support plaintiffs’ position by demonstrating that the right to privacy must yield when, as

here, the information is needed to vindicate other constitutionally protected interests.

F.3d L101, 1113 (9" Cir. 2003) ("PAMII ... explicitly authorizes organizations such as
[Oregon's P&A Office] to bring suit on behalf of its constituents ..."). OPA is thus in the
game position that class counsel has to a class.

6 While HIPAA was passed in 1996, the regulations at issue did not go into effect

until April 14, 2003, see 45 C.F.R. § 164.534, making that 2001 decision a pre-HIPAA
case,

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IV. CONCLUSION

For the foregoing reasons, plaintiffs’ motion for an order allowing access to

prisoner health records should be granted.

THE PLAINTIFFS,
STATE OF CONNECTICUT
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